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     Federal Defender
2    CHARLES LEE, Bar # 221057
     Assistant Federal Defender
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5
6    Counsel for Defendant
     BRENDA TOVAR-RUIZ
7
8                            IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                 )   Case No. 1:14-cr-00162-DAD-BAM-3
                                               )
12                    Plaintiff,               )   APPLICATION AND ORDER TO
                                               )   EXONERATE DEED OF TRUST WITH
13          vs.                                )   ASSIGNMENT OF RENT AND TO
                                               )   RECONVEY TITLE OF REAL PROPERTY
14   BRENDA TOVAR-RUIZ,                        )
                                               )
15                    Defendant.               )
                                               )
16                                             )
17         Defendant, Brenda Tovar-Ruiz, hereby requests that this court order the exoneration of
18 the $100,000 Deed of Trust with Assignment of Rents currently on file with the Fresno County
19 Recorder as Document # 2014-0086026.
20         On July 23, 2014, a $100,000 bond was ordered in the above-captioned matter by United
21 States Magistrate Judge Sandra M. Snyder, (U.S. v. Brenda Ruiz-Tovar, 1:14-mj-00123 SAB) to
22 be secured by the property of Jose Jaime Haro-Gomez. On August 4, 2014, a Deed of Trust with
23 Assignment of Rents in the amount of $100,000 was filed with the Fresno County Recorder as
24 Document # 2014-0086026 on the property of Jose Jaime Haro-Gomez. On August 7, 2014, a
25 certified copy of the Deed of Trust and the original Straight Note were received by the Clerk of
26 the United States District Court and filed on the docket of U.S. v. Brenda Tovar-Ruiz, 1:14-cr-
27 00162 DAD-BAM. (Please take note that the last name of the defendant was reversed in the
28 District Court case.) On January 14, 2016, Defendant Brenda Tovar-Ruiz appeared before United



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1    States District Court Judge Anthony W. Ishii, and was sentenced to 36 months imprisonment
2    (Exhibit A). Brenda Tovar-Ruiz is currently serving this sentence at Dublin FCI in the custody of
3    the Bureau of Prisons (Exhibit B). Therefore, since Defendant Brenda Tovar-Ruiz has satisfied
4    the conditions of pretrial release in the Eastern District of California, she requests that the Deed of
5    Trust (Document # 2014-0086026) now on file with the Fresno County Recorder, be exonerated
6    and title of the real property described therein be reconveyed to Jose Jaime Haro-Gomez.
7                                                   Respectfully submitted,
8                                                   HEATHER E. WILLIAMS
                                                    Federal Defender
9
10 Dated: March 21, 2016                            /s/ Charles Lee
                                                    CHARLES LEE
11                                                  Attorney for Defendant,
                                                    BRENDA TOVAR-RUIZ
12
13
14                                                 ORDER
15          IT IS HEREBY ORDERED that the Deed of Trust with Assignment of Rents filed on
16 August 4, 2014 with the Fresno County Recorder as Document #2014-0086026 be exonerated and
17 that title to the property described therein be reconveyed to Jose Jaime Haro-Gomez.
18
     IT IS SO ORDERED.
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20 Dated:      March 22, 2016
                                                         UNITED STATES DISTRICT JUDGE
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